172 F.3d 861
    In re Y.J. Sons &amp; Co., Inc.; Y.J. Sons &amp; Co., Inc., KyungSook Son, Michael S. Kimmv.Anemone, Inc., U.S. Trustee, Galen, Inc.; In re Y.J. Sons &amp;Co., Inc.; Y.J. Sons &amp; Co., Inc., Kyung Sook Son,Michael S. Kimm v. Anemone, Inc., Galen,Inc., U.S. Trustee
    NO. 97-5535
    United States Court of Appeals,Third Circuit.
    November 16, 1998
    
      1
      Appeal From:  D.N.J.
    
    
      2
      Affirmed.
    
    